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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8   UNITED STATES OF AMERICA,                             NO. CR 09-159 MJP
 9
                                    Plaintiff,
10
            v.                                             DETENTION ORDER
11
     GALINA KRAVCHENKO,
12
                                    Defendant.
13

14
     Offenses charged:
15
            Count 1:        Conspiracy to Commit Bank Fraud, in violation of 18 U.S.C.§1349
16
            Counts 2-6      Bank Fraud, in violation of 18 U.S.C. §§ 1344(1) and (2)
17
            Counts 7-15: Money Laundering, in violation of 18 U.S.C. § 1956(a)(1)(A)(1)
18

19          Counts 17 and 19: Willful Filing False Tax Returns, in violation of 26 U.S.C.§7206(1)

20   Date of Detention Hearing: December 19, 2014

21          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

22   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

23          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

24          1.      Defendant has been an international fugitive from these charges using

25   international protection for a long period of time.

26

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 1          2.      Defendant has extensive contacts in Moldova, where her husband is hiding, and

 2   other areas of the world as well.

 3          3.      Defendant liquidated a substantial amount of assets before fleeing the United

 4   States. The location is unknown, but provides a basis for permitting her to flee.

 5          4.      Defendant is familiar with forged international travel documents, as she was in

 6   possession of forged Russian and Moldovan passports and travel documents and used those

 7   documents to avoid being sent back to the United States on the charges in the indictment.

 8          5.      There are no conditions or combination of conditions other than detention that

 9   will reasonably assure the appearance of defendant as required.

10          IT IS THEREFORE ORDERED:

11          (1)     Defendant shall be detained and shall be committed to the custody of the

12                  Attorney General for confinement in a correction facility separate, to the extent

13                  practicable, from persons awaiting or serving sentences or being held in custody

14                  pending appeal;

15          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

16                  counsel;

17          (3)     On order of a court of the United States or on request of an attorney for the

18                  government, the person in charge of the corrections facility in which defendant

19                  is confined shall deliver the defendant to a United States Marshal for the

20                  purpose of an appearance in connection with a court proceeding; and

21          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

22                  counsel for the defendant, to the United States Marshal, and to the United States

23                  Pretrial Services Officer.

24          DATED this 19th day of December, 2014.

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26
                                                  AJAMES P. DONOHUE
                                                   United States Magistrate Judge
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     18 U.S.C. § 3142(i)
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